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                              UNITED STATES DISTRICT COURT
13                           NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
14
       IN RE: Roundup Products Liability Litigation   MDL No. 2741
15

16     This Document Relates to:                      Case No.: 3:16-md-02741-VC

17     Brett Beckfield v. Monsanto Company            PLAINTIFF’S SUPPLEMENTAL
       Case No. 3:21-cv-05322                         MEMORANDUM IN OPPOSITION TO
18                                                    MONSANTO COMPANY’S MOTION
19                                                    TO EXCLUDE TESTIMONY OF
                                                      KEVIN KNOPF, M.D., M.P.H.
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       PLAINTIFF’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MONSANTO
       COMPANY’S MOTION TO EXCLUDE TESTIMONY OF KEVIN KNOPF, M.D., M.P.H.
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 1                                         I.     INTRODUCTION

 2              Plaintiff Brett Beckfield (“Beckfield”) respectfully submits this Supplemental

 3   Memorandum in Opposition to Monsanto Company’s Motion to Exclude Testimony of Kevin

 4   Knopf, M.D., M.P.H. (“Dr. Knopf”). Pursuant to the Court’s instruction, Plaintiff has identified

 5   those specific areas of Dr. Knopf’s testimony and the record, which show that his methodology (a)

 6   generally accounts for exposures to pesticides that can cause non-Hodgkin’s Lymphoma (“NHL”)

 7   and (b) properly does not rule-in Beckfield’s comparatively minimal exposure to three discrete

 8   herbicides, atrazine, Dual, and Lasso, where there is no record evidence any of them is a potential

 9   cause of NHL, and where none of Defendant’s experts considers them a potential cause, either. It

10   is important in assessing the adequacy of Dr. Knopf’s methodology to keep in mind the goal of

11   Rule 702, which is to ensure, to the extent possible, that an expert’s opinions are reliable. Where,

12   as here, there is no record evidence that the pesticides in question were either potential causes of

13   NHL, nor that Beckfield was exposed to them in any significant way, exclusion of Dr. Knopf’s

14   entire opinion because of a failure to discuss the pesticides in his report would put form over

15   substance, as even had Dr. Knopf discussed them, they could not have resulted in any change to

16   Dr. Knopf’s opinions.

17                                         II.    DISCUSSION
           A.      Dr. Knopf’s Review of Beckfield’s Personal and Professional History Establishes
18                 He Considered Plaintiff’s Limited Exposure to Atrazine, Dual, and Lasso
19                 Herbicides and Properly Did Not Rule Them In.
                As a threshold matter, it is clear that Dr. Knopf knew of Beckfield’s limited exposure to
20
     herbicides other than Roundup. The record establishes that Dr. Knopf explicitly considered
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     Beckfield’s Plaintiff Fact Sheet (PFS), deposition, and medical records – all of which discuss
22
     Plaintiff’s exposure to pesticides, atrazine, Dual, or Lasso. See Ex. 11, Knopf Rpt., dated Aug. 22,
23
     2022 (“Knopf Rpt.”) at 2; Ex. 2, Dep. of Kevin Knopf, M.D., M.P.H., dated Oct. 25, 2022 (“Knopf
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         Ex. __ refers to exhibits to the Declaration of James Cook, dated Sept. 10, 2024, filed herewith.
28        PLAINTIFF’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MONSANTO
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 1   Dep.”) at 152:18-153:7, and Exhibit 7 to that deposition.2 Further, Dr. Knopf also reviewed

 2   Monsanto’s experts’ reports, which discuss Beckfield’s exposure to these herbicides. Ex. 2, Knopf

 3   Dep. at 109:3-17. Given Monsanto’s criticism of Dr. Knopf, it is important to note that just like

 4   Dr. Knopf, none of Defendant’s own experts considered Plaintiff’s exposure to atrazine, Lasso,

 5   and Dual to be substantial, nor do any of them discuss or opine that such exposure is a potential

 6   cause of Beckfield’s NHL. See, generally, Monsanto expert reports at Exs. 3 and 4.

 7            For example, in defense expert Nathan Boyd, M.D.’s report, the entire description of

 8   Beckfield’s exposure to atrazine, Dual, and Lasso is contained in a single short paragraph, and

 9   illuminates the dearth of evidence showing any meaningful exposure to those pesticides:

10            Mr. Beckfield recalls that they applied atrazine on the family farm, but his father
11            handled that application (page 74). He estimates that they would have used
              Atrazine every year when planting corn, but he was uncertain of the frequency
12            (page 75) and cannot remember the method of application (page 76). They also
              used Lasso many times (page 76) and Dual (page 77), but Mr. Beckfield does not
13            remember frequency of use or method of application for those products either
              (page 77).
14

15   Ex. 3, Boyd Supp. Rept. at 43 (emphasis added). This paragraph contains the only mention of
16   these pesticides by Dr. Boyd; he never discusses them as a potential cause of Beckfield’s NHL.
17   By contrast, Dr. Boyd’s description of Beckfield’s extensive Roundup use alone spans seven pages
18   and mirrors Dr. Knopf’s estimate that Beckfield used Roundup for over 500 days. Id. at 42-49.
19       B.      Dr. Knopf Generally Considers Pesticide Exposures in his Differential Etiology.
20            Monsanto seizes upon Dr. Knopf’s comment in his deposition that he was less familiar
21   with the data regarding atrazine to suggest that he did not actually consider pesticide/herbicide
22   exposures as part of his methodology. This is false. Dr. Knopf stated repeatedly in his deposition
23   that he considers a plaintiff’s exposure to pesticides/herbicides in general as a potential cause of
24   lymphoma. See Ex. 2, Knopf. Dep. at 16:3-17:13; 18:14-20; 26:15-27:4; 65:7-22; 121-24-122:7,
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     2
      Whether by mistake or design, Monsanto’s Counsel suggested during Dr. Knopf’s deposition that
     his report did not reference the Plaintiff-specific materials he considered. See Knopf Dep. at 87:14-
27   88:22. This suggestion is plainly inaccurate. See Knopf. Rpt. at 2 (“I also reviewed Mr.
     Beckfield’s deposition, the deposition of Gloria Jean Thomas, and Plaintiff Fact Sheets.”)
28       PLAINTIFF’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MONSANTO
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 1   125:22-126:11. He also affirmed his awareness of Beckfield’s exposure to atrazine. Id. at 136:19-

 2   137:137:1, belying Monsanto’s contention that he completely ignored or missed Beckfield’s

 3   exposure to pesticides. The issue here is that these alternative exposures were so limited in

 4   comparison to Beckfield’s Roundup use that, as Dr. Knopf testified at the hearing, he did not think

 5   that they warranted specific inclusion in his report at the time of its writing.

 6          Comparing this with, for example, Dr. Knopf’s explanation for addressing prior viral

 7   infections, is illustrative. When asked whether Beckfield had any prior viral infections, Dr. Knopf

 8   responded, “I’m sure he was exposed to many viruses in his life. I listed the three that I thought

 9   were most relevant here.” Ex. 2, Knopf Dep. at133:245–135:6. Of course, Dr. Knopf did not

10   address all types of infections that Beckfield experienced; he addressed only those that might

11   possibly be associated with the development of NHL. Likewise, he solely discussed Roundup

12   because that was the only herbicide exposure he identified which he believed was extensive enough

13   to constitute a substantial contributing factor in causing Beckfield’s NHL and which was

14   associated with NHL.

15          Therein lies the crux of the matter: the record is devoid of any evidence that Beckfield’s

16   de minimus exposure to these other herbicides was even potentially causative. Dr. Knopf has

17   reviewed the scientific literature on causes of NHL generally and his search did not reveal atrazine,

18   Dual, or Lasso as potential causes. See e.g. Ex. 1, Knopf. Rpt. at 3. Likewise, not one of

19   Monsanto’s own experts concludes that Plaintiff’s exposure to these herbicides was even

20   potentially causative. See Ex. 3, Boyd Supp. Rpt., supra; see also Ex. 4, Supp. Rpt. of Timothy

21   Fenske, M.D., dated Sept. 21, 2022, at 27 (stating, “There are no features of the case to suggest a

22   specific environmental or occupational exposure as the cause.”). When the scarcity of literature

23   linking these pesticides to NHL is combined with Beckfield’s limited use, it is no surprise that Dr.

24   Knopf did not rule-in this exposure in his report or particularly remember the details of these

25   pesticides at his deposition. His deposition testimony does, however, state that he considered the

26   disparity in use and its impact, and discounted the exposure as meaningful:

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28     PLAINTIFF’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MONSANTO
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              Q. But be that as it may, you don’t purport to rule out Lasso herbicide as a
 1            contributing factor to Mr. Beckfield’s non-Hodgkin’s lymphoma in your report, do
 2            you?

 3            A. I did not do it in my report, but I think there’s a difference between 525 days
              [of Roundup exposure] and 12 days [of Lasso exposure].
 4
              Q: Right. But you can’t rule it out as a contributing factor; can you?
 5

 6            A. I can’t rule it out as a contributing factor, but it doesn’t change my opinion
              that Roundup was a substantial contributing factor.
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     Id. at 139:12-23 (emphasis added).
 8
         C.      Dr. Knopf’s Methodology Satisfies the Strictures of Daubert and its Ninth Circuit
 9
                 Progeny.
10            As this Court is well aware, an expert conducting a differential etiology must start by
11   determining “other known and competing causes” of the illness at issue. Michael D. Green, D.
12   Michal Freedman, and Leon Gordis, Reference Guide on Epidemiology, in Federal Judicial Center,
13   Reference Manual on Scientific Evidence, 617 (3d ed. 2011) (Reference Guide); see also Clausen
14   v. Carissa, 339 F. 3d 1049, 1058-60 (9th Cir. 2003); In re Roundup Products Liab. Litig., 16-MD-
15   02741-VC, 2024 WL 348811, at *6 n. 10 (N.D. Cal. Jan. 30, 2024). Thus, “before a competing
16   cause should be considered relevant to a differential diagnosis, there must be adequate evidence
17   that it is a cause of the disease.” Reference Guide at 618 n. 213. Further, while experts should
18   strive to include even rare causes, “[t]he Ninth Circuit does ‘not require experts to eliminate all
19   possible causes of a condition for the expert’s testimony to be reliable. . . It is enough that the
20   proposed cause ‘be a substantial causative factor.”’ Zetz v. Boston Scientific Corp., 644 F. Supp.
21   3d 684, 700 (E.D. Cal. 2022) (citing Messick v. Novartis Pharm. Corp., 747 F. 3d 1193, 1199 (9th
22   Cir. 2014)); see also, Clausen, 339 F. 3d at 1058.3
23            An expert’s testimony only falls short where the challenging party demonstrates that the
24   expert’s conclusions would have been different had he considered those facts. See e.g. Hemmings
25   v. Tidyman’s Inc., 285 F.3d 1174, 1188-89 (9th Cir. 2002) (rejecting defendant’s argument that
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27   3
       In fact, a differential etiology that “rules in a potential cause that is not so capable is
     unreliable.” Clausen, 339 F. 3d at 1058.
28      PLAINTIFF’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MONSANTO
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 1   plaintiff’s expert should have been excluded based upon failure to include certain variables in his

 2   regression analysis because defendant did not prove any of factors not included were important or

 3   would have changed the analysis).

 4          Here, Monsanto demands this Court strike Dr. Knopf’s testimony in its entirety due to his

 5   purported failure to consider three herbicides for which there is no evidence in the record that they

 6   cause NHL. Furthermore, Defendant is asking this Court to do so by disregarding Dr. Knopf’s

 7   sworn testimony that he did consider this information. See Tr. of Evid. Hearing Proceed., dated

 8   Sept. 6, 2024 at 21:1-32:24. Plaintiff is mindful that the Court doubts the depth of Dr. Knopf’s

 9   evaluation in this regard, but that is an issue of credibility beyond the scope of a Daubert analysis.

10   See, e.g., United States v. Hankey, 203 F.3d 1160, 1168 (9th Cir. 2000) (describing court’s task as

11   assessing whether the methodology or technique “fits” the conclusions while specifically noting

12   “the expert’s credibility is for the jury”). In sum, Monsanto’s argument is factually, scientifically,

13   and legally unsound and is an invitation for this Court to invade the province of the jury. For these

14   reasons, Plaintiff respectfully submits that Monsanto’s motion should be denied.

15   DATED: September 10, 2024.                     Respectfully Submitted,

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28   PLAINTIFF’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MONSANTO
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 1                                   CERTIFICATE OF SERVICE
 2
            I certify that on September 10, 2024, I electronically filed the foregoing document with the
 3   Clerk for the United States District Court for the Northern District of California using the CM/ECF
     system, which shall send electronic notification to counsel of record.
 4

 5                                                /s/ Behram V. Parekh
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28     PLAINTIFF’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION TO MONSANTO
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